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     LINDA M. BURKE
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7
8
                      IN THE UNITED STATES DISTRICT COURT FOR THE
9
                               EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                           CASE NO. CR. S-05-00365 FCD
12
                  Plaintiff,                             STIPULATION AND ORDER
13                                                       CONTINUING JUDGMENT AND
           vs.                                           SENTENCING
14                                                       _______________________________
     LINDA M. BURKE,
15
16                Defendant.
                                                 /
17
18
19         Defendant Linda M. Burke, through her counsel of record, Malcolm Segal, and
20   Plaintiff United States of America, through its counsel, Assistant United States Attorney
21   Kyle Reardon, agree and stipulate that the defendant’s Judgment and Sentencing
22   currently set for December 6, 2010, should be continued to February 28, 2011.
23         Good cause exists for the continuance. As is contemplated by the plea
24   agreement in this case, continuing the imposition of defendant Linda Burke’s Judgment
25   and Sentencing until after the sentencing of her co-defendant, which is currently set for
26   January 10, 2011, will provide the Court with a more complete view of the facts in this
27   case, the degree of her cooperation, and of her involvement in the matters leading to
28   the filing of the charges against her.

                                                        1
                           Stipulation and Order Continuing Judgment and Sentencing
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1          IT IS SO STIPULATED.
2                                                   SEGAL & KIRBY LLP
3    Dated: November 30, 2010
4
5                                            By:    /s/ Malcolm S. Segal
                                                    Malcolm S. Segal
6                                                   Attorneys for Defendant LINDA M. BURKE
7
     Dated: November 30, 2010
8
9                                            By:     /s/ Kyle Reardon
                                                    Kyle Reardon
10                                                  Assistant United States Attorney
                                                    (signed per authorization)
11
12
13
                                               ORDER
14
           GOOD CAUSE APPEARING, it is hereby ordered that the Judgment and
15
     Sentencing of defendant Linda M. Burke set for December 6, 2010, is continued to
16
     February 28, 2011, at 10:00 a.m.
17
18
     Dated: December 2, 2010
19                                            _______________________________________
                                              FRANK C. DAMRELL, JR.
20                                            UNITED STATES DISTRICT JUDGE
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28
                                                     2
                        Stipulation and Order Continuing Judgment and Sentencing
